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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                 :
In re:                           :                            Chapter 11
                                 :
PROMISE HEALTHCARE GROUP, LLC,   :                            Case No. 18-12491 (CTG)
        1
et al.,                          :
                                 :                            (Jointly Administered)
                   Debtors.      :
                                 :
---------------------------------x

                                        AFFIDAVIT OF SERVICE

       I, James Roy, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”)2 , the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On December 6, 2023, at my direction and under my supervision, employees of Kroll
caused the following document to be served (1) by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A; and (2) via email on the Respondents Service List attached
hereto as Exhibit B:

    •   Notice of Agenda of Matter Scheduled for Hearing on December 7, 2023, at 10:00 a.m.
        (ET) [Docket No. 3179]



1
  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2,
Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land
Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The
Villages Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC
(4255), HLP Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953),
Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of
Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671),
Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise
Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc.
(1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of
Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise
Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752), Promise
Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P.
(8203), Success Healthcare 1, LLC (6535), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC
(4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise
Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology
Development and Services Company, Inc. (7766).The mailing address for the Debtors, solely for purposes of notices
and communications, is c/o FTI Consulting, Inc., 50 California Street, Suite 1900, San Francisco, CA 94111.
2
  Effective March 29, 2022, Prime Clerk LLC changed its name to Kroll Restructuring Administration LLC.
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Dated: December 13, 2023
                                                                      /s/ James Roy
                                                                      James Roy
State of New York County
of New York

Subscribed and sworn (or affirmed) to me on December 13, 2023, by James Roy, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




                                             2
                                                                                 SRF 75022
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                       Exhibit A
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                                                                                                                                      Exhibit A
                                                                                                                                Core/2002 Service List
                                                                                                                               Served as set forth below


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       In re: Promise Healthcare Group LLC, et al.
       Case No. 18-12491 (CTG)                                                                                                        Page 1 of 7
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                                                                                                                                     Exhibit A
                                                                                                                               Core/2002 Service List
                                                                                                                              Served as set forth below


                         DESCRIPTION                                           NAME                                                                ADDRESS                                           EMAIL        METHOD OF SERVICE
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                                                                                                                                   Exhibit A
                                                                                                                             Core/2002 Service List
                                                                                                                            Served as set forth below


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                                                                                                                                        Exhibit A
                                                                                                                                  Core/2002 Service List
                                                                                                                                 Served as set forth below


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Connection with the Sale of the Silver Lake Medical Center McDermott Will & Emery LLP                      Chicago IL 60606                                                      mpreusker@mwe.com                  Email
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                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below


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Ombudsman                                                   Otterbourg P.C.                             New York NY 10169                                                                         mmaizel@otterbourg.com          Email
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Counsel to LADMC, LLC; Counsel to Amparo Figueroa and                                                   1313 North Market Street, Sixth Floor                                                     rmcneill@potteranderson.com
Brett Elliot Drier, in his capacity as Personal Representative                                          P.O. Box 951                                                                              csamis@potteranderson.com
of the Estate of Beatrice M. Drier                             Potter Anderson & Corroon LLP            Wilmington DE 19899                                                                       rslaugh@potteranderson.com      Email
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Counsel to Pacific Hospital Management, Inc., a California                                              Suite 225
Corporation, dba Promise Hospital of San Diego, California Randick O'Dea & Tooliatos, LLP               Pleasanton CA 94588                                                                       pvermont@randicklaw.com         Email
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                                                                                                                                  Exhibit A
                                                                                                                            Core/2002 Service List
                                                                                                                           Served as set forth below


                         DESCRIPTION                                       NAME                                                                ADDRESS                                                        EMAIL             METHOD OF SERVICE
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                                                                                                                            Core/2002 Service List
                                                                                                                           Served as set forth below


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capacity as Personal Representative of the Estate of                                               One North Dale Mabry Highway, Suite 700
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                                                                             Exhibit B
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